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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

         Plaintiffs,

  v.                                                 Case No: 8:19-cv-710-MSS-TGW

  BRIGHT HOUSE NETWORKS,
  LLC.,

         Defendants.



                                        ORDER

         On July 28, 2022, and July 29, 2022, the Court held virtual hearings via Zoom

  (the   “Hearings”)   concerning    Bright   House’s    Time-Sensitive    Motion     for

  Reconsideration of July 22, 2022 Order And/Or For Enforcement of July 13, 2022

  Order, (Dkt. 695); the nine (9) documents withdrawn by Plaintiffs from

  MarkMonitor’s production (Dkt. 709); and Plaintiffs’ Request for Final Pretrial

  Conference. (Dkt. 702) Plaintiffs’ Request for Final Pretrial Conference included a

  construed motion for clarification concerning various findings in the Court’s Orders

  on Bright House’s Motion in Limine, (Dkt. 685), and Plaintiffs’ Motion in Limine. (Dkt.

  684). During the Hearings, Bright House also orally moved for clarification concerning

  the Court’s Order on Bright House’s Motion in Limine, (Dkt. 685). (Hearing Transcript

  at 99:12-101:18) Upon consideration of all relevant filings, case law, and being

  otherwise fully advised the Court hereby ORDERS
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     1) Plaintiffs’ request for the Court’s entry of an order under Federal Rule of

        Evidence 502(d) covering the nine (9), non-privileged “clawed back” documents

        is DENIED.

     2) Plaintiffs’ motion for clarification concerning the Court’s granting of Bright

        House’s motion in limine numbered seven (7) and titled, “Number of Notices

        and Counts of Customer[,]” is GRANTED in limited part. Plaintiffs may only

        offer Bright House’s internal documents related to infringement notices and

        Bright House’s response to those notices if the alleged infringement and the

        alleged response(s) concern subscribers who received at least three Recording

        Industry Association of America (“RIAA”) Notices. Additionally, the Court

        will NOT permit the use of internal documents relating to Bright House’s

        treatment of non-RIAA notices and related customers who were the subject of

        three (3) or more RIAA notices absent a foundational showing that the non-

        RIAA notices were due to valid claims of infringement. This case is about

        alleged contributory infringement by Bright House of Plaintiffs’ claimed works.

        Bright House’s alleged responsiveness to other alleged infringement notices

        without proof of their validity and unrelated to the alleged infringers in this case

        is irrelevant, and any marginal value that could be articulated would be greatly

        outweighed by the potential prejudice.

     3) Plaintiffs’ motion for clarification concerning the Court’s granting of Bright

        House’s motion in limine numbered nine (9) and titled, “Subscriber

        ‘Admissions’ of Infringement[,]” is DENIED AS MOOT. Bright House


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        withdrew its challenge concerning documents in which subscribers admit to

        downloading music without permission or payment. There is also no

        prohibition against Plaintiffs’ attempting to characterize these statements as

        admissions of copyright infringement. As the Court has previously stated, “the

        complete prohibition of the use of the word infringement and its variants is

        impossible.” (Dkt. 685) (emphasis added)

     4) Plaintiffs’ motion for clarification concerning the Court’s granting of Bright

        House’s motion in limine numbered five (5) and titled, “The Financial Condition

        of BHN, Charter, Advance/Newhouse[,]” is GRANTED IN PART to the

        extent that Plaintiffs, may introduce the value of Bright House as a standalone

        entity. Any specific objection to the proposed valuation method is preserved.

        Defendant is permitted to argue at trial that some other number or consideration

        should be used by the jury that would be sufficient for deterrence purposes.

     5) Plaintiffs’ motion for clarification concerning the Court’s granting of Bright

        House’s motion in limine numbered twelve (12) and titled, “Works-in-Suit of

        Music Publisher Plaintiffs[,]” is DENIED. The Court’s Order granting this

        motion in limine remains the same. Plaintiffs will need to show that the notices

        of the works-in-suit also expressly included or implicitly/inherently constituted

        notification to Bright House of the interests of the music producers.

     6) Plaintiffs’ motion for clarification concerning the Court’s denial without

        prejudice of their motion in limine numbered seven (7) and titled, “[i]n the event




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        Plaintiffs are precluded from offering evidence related to notices from other

        rights holders, B[right] [House] should be precluded from offering statements

        by B[right] [House] subscribers who were not the subject of Plaintiffs’

        infringement notices[,] is DENIED. The Court’s Order on this motion in limine

        remains the same.

     7) Plaintiffs’ motion for clarification concerning the Court’s denial of their motion

        in limine numbered sixteen (16) and titled, “B[right] [House] should be

        precluded from offering evidence or argument concerning a purported

        ‘deterrence multiplier[,]” is DENIED. The Court’s Order on this motion in

        limine remains the same.

     8) Bright House’s motion for clarification concerning the Court’s granting of their

        motion in limine numbered six (6) and titled, “Safe Harbor Defense[,]” is

        DENIED. The Court’s Order on this motion in limine remains the same—that

        is, “Plaintiffs are permitted to state that this defense was not raised in this case—

        not that the defense was raised and then withdrawn.” (Dkt. 685 at ¶ 6)

     9) The Parties’ dispute as to the number of works-in-suit is reserved. The Court

        understands that there is an agreement as to 6,818 works-in-suit. (Dkt. 561 at 1–

        2) However, there is a dispute as to the remaining 332, leaving a possible total

        of 7,150 works-in-suit. (Id.) If the Court’s understanding is incorrect, the Parties

        may reassert the issue at the start of trial.




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     10) The Joint Proposed Voir Dire will include the proposed question concerning

        peer-to-peer usage; however, any substantive follow up questions will be held

        outside the presence of the remaining venire. As for the employment question,

        the Court will not specifically reference any entity other than Bright House.

        Instead, the Court will ask whether “you, your spouse, or someone with whom

        you live with works or has ever worked for an internet service provider?” Follow

        up questions will be addressed at trial.

     11) The Court will attempt to seat twelve (12) jurors.

     12) The Parties’ request to sequester all fact witnesses, pursuant to Federal Rule of

        Evidence 615, is GRANTED, effective August 3, 2022. No party may discuss

        with or disclose to any fact witness who is to be called to testify the testimony

        of other witnesses or any other matters that have occurred during the trial. A

        violation of the rule of sequestration may lead to the exclusion of the witness or

        other sanction.

     13) Plaintiffs shall have fifty-five (55) percent of the trial time, and Defendant shall

        have the remaining forty-five (45) percent. The Court will address the logistics

        of timekeeping on the day of the trial.

     14) Demonstrative and summary exhibits will be made available to the opposing

        side at least two (2) days before the witness through whom the exhibit is to be

        first introduced is to testify. Notice of which exhibits will be used with which

        witness is NOT required in advance of their testimony unless the Parties agree




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        professionally to share that information. The order of witnesses will be disclosed

        two (2) days before the witness is to testify.

     15) Plaintiff’s motion to require Defendant to present Mr. Frendberg live in

        Plaintiffs’ case in chief is DENIED.

     DONE and ORDERED in Tampa, Florida, this 30th day of July, 2022.




  Copies furnished to:
  Counsel of Record
  Any Unrepresented Person




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